Case 23-11267-amc          Doc 34    Filed 10/16/23 Entered 10/16/23 17:08:05              Desc Main
                                     Document     Page 1 of 2



                  IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)

 IN RE:
 LOUANN FEUERSTEIN                                         Case No. 23-11267-amc
        Debtor
                                                           Chapter 13
 Santander Bank, N.A.,
         Movant

 vs.
 LOUANN FEUERSTEIN
     Respondent                                            11 U.S.C. §362


                         NOTICE OF MOTION, RESPONSE DEADLINE
                                  AND HEARING DATE

     Santander Bank, N.A. (hereinafter “Movant”) has filed a Motion for Relief from the
Automatic Stay with the Court.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
may wish to consult an attorney.)

        1.      If you do not want the Court to grant relief sought in the motion or if you want the
Court to consider your views on the motion, then on or before October 31, 2023 you or your attorney
must do all of the following:

               (a) file an answer explaining your position at:

                       Clerk's Office, U.S. Bankruptcy Court
                       Eastern District of Pennsylvania
                       Robert N.C. Nix, Sr. Federal Courthouse
                       900 Market Street, Suite 400
                       Philadelphia, PA 19107

If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early enough so
that it will be received on or before the date stated above; and

               (b) mail a copy to the Movant’s attorney:

                       Brock and Scott, PLLC
                       3825 Forrestgate Drive
                       Winston Salem, NC 27103
Case 23-11267-amc          Doc 34    Filed 10/16/23 Entered 10/16/23 17:08:05              Desc Main
                                     Document     Page 2 of 2



       2.      If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b)
above and attend the hearing, the Court may enter an Order granting the relief requested in the motion.

        3.     A hearing on the motion is scheduled to be held before the Honorable Ashely M. Chan
on November 7, 2023 at 11:00AM, in Courtroom #4, United States Bankruptcy Court, Robert N.C.
Nix, Sr. Federal Courthouse, 900 Market Street, Philadelphia, PA 19107.

       4.      If a copy of the motion is not enclosed, a copy of the motion will be provided to you if
you request a copy from the attorneys named in paragraph 1(b).

        5.     You may contact the Bankruptcy Clerk’s office in Philadelphia at (215) 408-2800 to
find out whether the hearing has been cancelled because no one filed an answer.


October 16, 2023
